USCA Case #22-1018     Document #1936952         Filed: 02/28/2022     Page 1 of 17



                             IN THE
                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

 Advanced Energy Economy, et al.,       )
                   Petitioners,         )
                                        )
                  v.                    )
                                        )                No. 22-1018
 Federal Energy Regulatory              )
 Commission,                            )
                  Respondent.           )
                                        )

   MOTION TO INTERVENE IN SUPPORT OF RESPONDENT FERC

      Under Rules 15(d) and 27 of the Federal Rules of Appellate Procedure and

Circuit Rules 15(b) and 27, SEEM Members (named below) hereby move to

intervene in the above-captioned matter. SEEM Members expect to support

Respondent FERC and oppose Petitioners in this appeal.

      SEEM Members requesting intervention together are: Associated Electric

Cooperative, Inc. (“AECI”), Dalton Utilities (“Dalton”), Dominion Energy South

Carolina, Inc. (“DESC”), Duke Energy Progress, LLC (“Duke Energy Progress”),

Duke Energy Carolinas, LLC (“Duke Energy Carolinas”), North Carolina

Municipal Power Agency Number 1 (“NCMPA1”), Georgia System Operations

Corporation (“GSOC”), Georgia Transmission Corporation (“GTC”), Louisville

Gas and Electric Company (“LG&E”), Kentucky Utilities Company (“Kentucky

Utilities”), Municipal Electric Authority of Georgia (“MEAG Power”), North



                                       1
USCA Case #22-1018     Document #1936952          Filed: 02/28/2022   Page 2 of 17



Carolina Electric Membership Corporation (“NCEMC”), Oglethorpe Power

Corporation (“Oglethorpe”), PowerSouth Energy Cooperative (“PowerSouth”),

South Carolina Public Service Authority (“Santee Cooper”), Alabama Power

Company, Georgia Power Company, Mississippi Power Company, and Tennessee

Valley Authority (“TVA”) (all collectively, “SEEM Members”).

                               BACKGROUND

      In Case No. 22-1018, the Petitioners seek review of the following orders

issued by the Federal Energy Regulatory Commission (“Commission”):

   1. Approval of the Southeast Energy Exchange Market Agreement by
      operation of law pursuant to Section 205(g)(1) of the Federal Power Act, 16
      U.S.C. § 824d(g)(1). Alabama Power Co., Dominion Energy South
      Carolina, Inc., Louisville Gas and Electric Co., Duke Energy Carolinas,
      LLC, Duke Energy Progress, LLC, Georgia Power Co., Kentucky Utilities
      Co., Mississippi Power Co., Notice of Filing Taking Effect by Operation of
      Law, Docket Nos. ER21-1111-002, ER21-1112-002, ER21-1114-002,
      ER21-1116-002, ER21-1117-002, ER21-1119-002, ER21-1120-002, and
      ER21-1121-002 (Oct. 13, 2021); Statement of James P. Danly, Docket Nos.
      ER21-1111-002, ER21-1112-002, ER21-1114-002, ER21-1115-000, ER21-
      1115-001, ER21-1115-002, ER21-1116-002, ER21-1117-002, ER21-1118-
      002, ER21-1119-002, ER21-1120-002, ER21-1121-002, ER21-1125-000,
      ER21-1125-001, ER21-1125-002, and ER21-1128-002 (Oct. 20, 2021);
      Statement of Commissioner Christie, Docket Nos. ER21-1111-002, ER21-
      1112-002, ER21-1114-002, ER21-1115-000, ER21-1115-001, ER21-1115-
      002, ER21-1116-002, ER21-1117-002, ER21-1118-002, ER21-1119-002,
      ER21-1120-002, ER21-1121-002, and ER21-1125-000, ER21-1125-001,
      ER21-1125-002, and ER21-1128-002 (Oct. 20, 2021); Statement of
      Chairman Glick, Docket Nos. ER21-1111-002, ER21-1112-002, ER21-
      1114-002, ER21-1116-002, ER21-1117-002, ER21-1119-002, ER21-1120-
      002, and ER21-1121-002 (Oct. 20, 2021); Statement of Commissioner

                                        2
USCA Case #22-1018    Document #1936952         Filed: 02/28/2022   Page 3 of 17



     Clements, ER21-1111-002, ER21-1112-002, ER21-1114-002, ER21-1116-
     002, ER21-1117-002, ER21-1119-002, ER21-1120-002, and ER21-1121-
     002 (Oct. 20, 2021) (“October 13th Notice and Commissioner Statements”);

  2. Alabama Power Co., Dominion Energy South Carolina, Inc., Louisville Gas
     and Electric Co., Duke Energy Carolinas, LLC, Duke Energy Progress,
     LLC, Georgia Power Co., Kentucky Utilities Co., Mississippi Power Co.,
     Order Rejecting Rehearing Request as Untimely, Docket Nos. ER21-1111-
     003, ER21-1112-003, ER21-1114-003, ER21-1116-003, ER21-1117-003,
     ER21-1119-003, ER21-1120-003, and ER21-1121-003, 177 FERC ¶ 61,178
     (Dec. 10, 2021) (“December 10th Order”);

  3. Alabama Power Co., Dominion Energy South Carolina, Inc., Louisville Gas
     and Electric Co., Duke Energy Carolinas, LLC, Duke Energy Progress,
     LLC, Georgia Power Co., Kentucky Utilities Co., Mississippi Power Co.,
     Notice of Denial of Rehearing by Operation of Law and Providing for
     Further Consideration, Docket Nos. ER21-1111-005, ER21-1112-005,
     ER21-1114-005, ER21-1116-005, ER21-1117-005, ER21-1119-005, ER21-
     1120-005, and ER21-1121-005, 178 ¶ 62,071 (Feb. 7, 2022) (“February 7th
     Order”);

  4. Duke Energy Progress, LLC, Duke Energy Carolinas, LLC, Louisville Gas
     and Electric Co. Alabama Power Co., Dominion Energy South Carolina,
     Inc., Order Accepting Tariff Revisions, Docket Nos. ER21-1115-000, ER21-
     1115-001, ER21-1115-002, ER21-1118-002, ER21-1125-000, ER21-1125-
     001, ER21-1125-002, and ER21-1128-002, 177 FERC ¶ 61,080 (Nov. 8,
     2021) (“November 8th Order”); and

  5. Duke Energy Progress, LLC, Duke Energy Carolinas, LLC, Louisville Gas
     and Electric Co. Alabama Power Co. Dominion Energy South Carolina,
     Inc., Notice of Denial of Rehearing by Operation of Law and Providing for
     Further Consideration, ER21-1115-003, ER21-1118-003, ER21-1125-003,
     and ER21-1128-003, 178 FERC ¶ 62,014 (Jan. 10, 2022) (“January 10th
     Notice”).



                                      3
USCA Case #22-1018       Document #1936952           Filed: 02/28/2022    Page 4 of 17



                          STATEMENT OF INTEREST

      SEEM Members seek to intervene in this case because they have a direct and

substantial interest that cannot be adequately represented by any other party.

      The SEEM Members are load serving entities and transmission providers

serving customers throughout the Southeastern United States. Each of the SEEM

Members is a signatory to the Southeast Energy Exchange Market Agreement

(“SEEM Agreement”). The Southeast EEM Agreement establishes a new

electronic trading platform for matching intra-hour energy transactions and

arranging transmission service to support the transactions, all within the territory of

the Members.

      The SEEM Agreement required Commission acceptance before becoming

effective. The Commission jurisdictional Members filed the SEEM Agreement

and certificates of concurrence with the Commission (Docket Nos. ER21-1111,

ER21-1112, ER21-1114, ER21-1116, ER21-1117, ER21-1119, ER21-1120, and

ER21-1121). The Commission accepted the SEEM Agreement by operation of

law, as acknowledged in the October 13th Notice and Commissioner Statements.

Accordingly, the SEEM Agreement became effective, and the filed rate, on

October 12, 2021.

      Petitioners are not parties to the SEEM Agreement but intervened in the

proceedings below. Petitioners, who are public interest groups, environmental



                                          4
USCA Case #22-1018       Document #1936952           Filed: 02/28/2022    Page 5 of 17



groups, and trade associations, sought rejection of or substantial modifications to

the SEEM Agreement. Thus, Petitioners’ requested relief here would change the

negotiated and bargained for agreement between the SEEM Members.

      Petitioners also participated in the SEEM Members’ proceedings undertaken

to amend their tariffs consistent with the SEEM Agreement. See FERC Docket

No. ER21-1125; ER21-1128; ER21-1115; and ER21-111. Petitioners objected to

the amendments for the same reasons they objected to the SEEM Agreement itself.

      On November 8, 2021, the Commission accepted all proposed tariff

revisions as consistent with the then-effective filed rate, that is, the SEEM

Agreement. See November 8 Order. Petitioners sought rehearing and their

requests were deemed denied by operation of law, as acknowledged in the January

10 Notice.

      Petitioner’s requested relief at the Commission and here is based on

perceived flaws in the SEEM Agreement. Granting of such relief would

undermine the rights and obligations of the Members as set forth in the SEEM

Agreement and as implemented in the tariff proceedings.

      Thus, SEEM Members have a substantial and direct interest in the outcome

of these proceedings that cannot be adequately represented by another party in the

proceeding. See Dimond v. District of Columbia, 792 F.2d 179, 194 (D.C. Cir.

1986) (intervention is appropriate if “representation” by other parties “‘may be’



                                          5
USCA Case #22-1018        Document #1936952           Filed: 02/28/2022    Page 6 of 17



inadequate”). SEEM Members are seeking leave to intervene in this case to ensure

that they are in a position to provide their unique perspective on the issues to be

heard by this Court. Because this motion is timely under the rules of this Court,

granting SEEM Members’ motion will not inconvenience any other party in this

proceeding.

                                   CONCLUSION

      SEEM Members respectfully request that the Court grant their Motion to

Intervene in this case with full rights attendant thereto.



Dated: February 28, 2022                       Respectfully submitted,

                                               /s/ Matthew A. Fitzgerald

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                                           6
USCA Case #22-1018   Document #1936952         Filed: 02/28/2022   Page 7 of 17




                                         Counsel for Intervenors Associated
                                         Electric Cooperative, Inc., Dalton
                                         Utilities, Dominion Energy South
                                         Carolina, Inc., Duke Energy
                                         Progress, LLC, Duke Energy
                                         Carolinas, LLC, Georgia System
                                         Operations Corporation, Georgia
                                         Transmission Corporation, Louisville
                                         Gas and Electric Company, Kentucky
                                         Utilities Company, Municipal Electric
                                         Authority of Georgia, North Carolina
                                         Electric Membership Corporation,
                                         North Carolina Municipal Power
                                         Agency Number 1, Oglethorpe Power
                                         Corporation, PowerSouth Energy
                                         Cooperative, South Carolina Public
                                         Service Authority, Alabama Power
                                         Company, Georgia Power Company,
                                         Mississippi Power Company, and
                                         Tennessee Valley Authority




                                   7
USCA Case #22-1018       Document #1936952          Filed: 02/28/2022      Page 8 of 17



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                                          )
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                                          )               No. 22-1018
 Federal Energy Regulatory                )
 Commission,                              )
                    Respondent.           )
                                          )

                CORPORATE DISCLOSURE STATEMENTS

Associated Electric Cooperative, Inc.

      Associated Electric Cooperative, Inc. (“AECI”) is a rural electric

cooperative that provides whole power and high-voltage transmission to its six

regional generation and transmission cooperative member-owners. In addition to

providing power sales and transmission service to its member cooperatives, AECI

also takes and provides transmission service through enabling transmission

agreements with and makes off-system power sales to various counterparties in the

SE region of the United States. These six regional generation and transmission

cooperatives, in turn, supply wholesale power to thirty-nine distribution

cooperatives in Missouri, three distribution cooperatives in southeast Iowa, and

nine distribution cooperatives in northeast Oklahoma, serving more than 910,000

customers.



                                         8
USCA Case #22-1018       Document #1936952          Filed: 02/28/2022    Page 9 of 17



      AECI has no parent company and no publicly held company has a 10% or

greater ownership interest in AECI.

Dalton Utilities

      Dalton Utilities is a government corporation: a full-service municipal utility,

governed by the Board of the Water, Light and Sinking Fund Commissioners.

Established in 1913 by an Act of the Georgia General Assembly, the Commission

is composed of five members (appointed by the Dalton Mayor and Council) and is

empowered to determine utility rates, control expenditures, and make necessary

improvements/expansions to the various utility systems. Dalton Utilities receives

no tax monies and operates solely on customer revenues.

Dominion Energy South Carolina, Inc.

      Dominion Energy South Carolina, Inc. (“DESC”) is a corporation organized

in South Carolina that is engaged in the generation, transmission, and distribution

of electricity to customers in South Carolina.

      DESC is a direct, wholly-owned subsidiary of SCANA Corporation, which

is in turn, a direct, wholly-owned subsidiary of Dominion Energy, Inc. Dominion

Energy, Inc. is a publicly-traded corporation (stock ticker “D”).

Duke Energy Progress, LLC and Duke Energy Carolinas, LLC

      Duke Energy Progress, LLC (“Duke Energy Progress”) and Duke Energy

Carolinas, LLC (“Duke Energy Carolinas”) are North Carolina limited liability



                                          9
USCA Case #22-1018      Document #1936952           Filed: 02/28/2022    Page 10 of 17



companies that provide firm native load service and related electric services to

customers in North Carolina and South Carolina.

      Duke Energy Progress and Duke Energy Carolinas are each wholly-owned

subsidiaries of Duke Energy Corporation (NYSE: DUK), which is a publicly-held

company incorporated in Delaware. Duke Energy Corporation has no parent

company and no publicly-held corporation owns 10 percent or greater ownership

interest in Duke Energy Corporation.

Georgia System Operations Corporation (“GSOC”)

      Georgia System Operations Corporation (“GSOC”) is a Georgia nonprofit

corporation operating on a cooperative basis that provides system operations

services to transmission, generation, and distribution electric cooperatives across

the State of Georgia and a founding member of the Southeast Energy Exchange

Market.

      GSOC has no parent corporation. No publicly held corporation owns any

portion of GSOC, and it is not a subsidiary or an affiliate of any public owned

corporation.

Georgia Transmission Corporation (“GTC”)

      Georgia Transmission Corporation (An Electric Membership Corporation)

(“GTC”) is a not-for-profit electric cooperative that provides electric transmission

service primarily to its distribution electric cooperative members in Georgia and is



                                         10
USCA Case #22-1018      Document #1936952           Filed: 02/28/2022    Page 11 of 17



a founding member of the Southeast Energy Exchange Market.

      GTC has no parent corporation. No publicly-held corporation owns any

portion of GTC, and it is not a subsidiary or an affiliate of any publicly-owned

corporation.

Louisville Gas and Electric Company and Kentucky Utilities Company

      Louisville Gas and Electric Company (“LG&E”) and Kentucky Utilities

Company (“Kentucky Utilities”) are regulated utilities that serve approximately 1.3

million customers.

      LG&E and Kentucky Utilities are wholly-owned subsidiaries of LG&E and

KU Energy LLC (“LKE”), a holding company, which in turn is a wholly-owned

indirect subsidiary of PPL Corporation. Other than PPL Corporation, no publicly-

held company owns 10% or more of any LKE membership interest or LG&E’s and

Kentucky Utilities’ shareholding interests. No publicly held company has a 10%

or greater ownership interest in PPL Corporation. PPL Corporation is a publicly-

traded corporation (stock ticker “PPL”). The Vanguard Group, Inc., an investment

advisor, reports certain beneficial ownership, for certain purposes, with respect to

11.82% of PPL Corporation shares.

Municipal Electric Authority of Georgia

      The Municipal Electric Authority of Georgia (MEAG Power) is a

government corporation and instrumentality of the State of Georgia created by an



                                         11
USCA Case #22-1018      Document #1936952           Filed: 02/28/2022   Page 12 of 17



act of the Georgia General Assembly in 1975 to provide affordable and reliable

wholesale electric power to those eligible political subdivisions located in Georgia.

      MEAG Power has no parent company or shareholders.

North Carolina Electric Membership Corporation

      NCEMC is a not-for profit generation and transmission cooperative

incorporated under North Carolina law that owns and/or purchases generation and

transmission services on behalf of its 25 member distribution cooperatives.

      NCEMC is wholly owned by its members and has no parent companies. No

publicly held company has any ownership interest in NCEMC.

North Carolina Municipal Power Agency Number 1

      North Carolina Municipal Power Agency Number 1 (“NCMPA1”) is a

public body and body corporate and politic organized in accordance with the

provision of Chapter 159B of the North Carolina General Statutes. NCMPA1 is a

government corporation.

Oglethorpe Power Corporation

      Oglethorpe Power Corporation (An Electric Membership Corporation)

(“Oglethorpe”) is a Georgia electric membership corporation that owns and/or

operates fourteen generating facilities located across the State of Georgia and a

founding member of the Southeast Energy Exchange Market.

      Oglethorpe has no parent corporation. No publicly held corporation owns



                                         12
USCA Case #22-1018      Document #1936952            Filed: 02/28/2022    Page 13 of 17



any portion of Oglethorpe, and it is not a subsidiary or an affiliate of any public

owned corporation.

PowerSouth Energy Cooperative

      PowerSouth Energy Cooperative is a Generation and Transmission electric

cooperative that supplies and delivers wholesale power to 20 member systems,

comprised of 16 distribution cooperatives and 4 municipal electric systems, in

Alabama and northwest Florida.

      PowerSouth has no parent company and no publicly held company has a

10% or greater ownership interest in PowerSouth.

South Carolina Public Service Authority

      The South Carolina Public Service Authority (“Santee Cooper”) is a body

corporate and politic created by an Act of the South Carolina General Assembly in

1934 “to manufacture, produce, generate, transmit, distribute, and sell water

power, steam electric power, hydroelectric power, or mechanical power within and

without the State of South Carolina.” S.C. Code § 58-31-30(A)(8).

      Santee Cooper has no parent company or shareholders.

Alabama Power Company

      Alabama Power Company (“Alabama Power”) is a corporation organized

under the laws of the State of Alabama. Alabama Power is a regulated public

utility engaged in the generation, transmission, distribution and purchase of



                                          13
USCA Case #22-1018      Document #1936952            Filed: 02/28/2022    Page 14 of 17



electricity and the sale of electric service within a service area comprising most of

the State of Alabama.

      The Southern Company (trading symbol “SO”) owns all of Alabama

Power’s outstanding common stock, which represents a substantial majority of the

overall voting power of Alabama Power’s equity securities. Alabama Power also

has preferred stock outstanding, all of which are publicly traded (trading symbol

“ALP PR Q” for 5.00% Series Class A Preferred Stock).

Georgia Power Company

   Georgia Power Company (“Georgia Power”) is a corporation organized under

the laws of the State of Georgia. Georgia Power is a regulated public utility

engaged in the generation, transmission, distribution and purchase of electricity

and the sale of electric service within a service area comprising most of the State of

Georgia.

   Georgia Power is a wholly-owned, direct subsidiary of The Southern Company.

The Southern Company is a publicly-traded corporation (trading symbol “SO”).

Mississippi Power Company

    Mississippi Power Company (“Mississippi Power”) is a corporation organized

under the laws of the State of Mississippi. Mississippi Power is engaged in the

generation, transmission, distribution and purchase of electricity and the sale of

electric service within 23 counties in southeastern Mississippi, at retail in 123



                                          14
USCA Case #22-1018      Document #1936952           Filed: 02/28/2022     Page 15 of 17



communities (including Biloxi, Gulfport, Hattiesburg, Laurel, Meridian and

Pascagoula), as well as in rural areas, and at wholesale to one municipality, six

rural electric distribution cooperative associations and one generating and

transmitting cooperative.

      Mississippi Power is a wholly-owned, direct subsidiary of The Southern

Company. The Southern Company is a publicly-traded corporation (trading

symbol “SO”).

Tennessee Valley Authority

      The Tennessee Valley Authority (“TVA”) is a corporate agency and

instrumentality of the United States government created and existing pursuant to

the Tennessee Valley Authority Act of 1933, as amended, 16 U.S.C. §§ 831-831ee

(2006 & Supp. III 2009).

      TVA has no parent corporation. No publicly held company has any

ownership interest in TVA.



Dated: February 28, 2022                      Respectfully submitted,

                                              /s/ Matthew A. Fitzgerald
                                              Matthew A. Fitzgerald

                                              Counsel for Intervenors




                                         15
USCA Case #22-1018     Document #1936952         Filed: 02/28/2022      Page 16 of 17



                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitation of Fed. R. App. P.
27(d)(2) because:

           The motion contains 1,043 words, excluding the parts exempted by
            Fed. R. App. P. 27(a)(2)(B) and Fed. R. App. P. 32(f).

     This motion complies with the typeface and type-style requirements of Fed.
R. App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because:

           The motion has been prepared in a proportionally spaced typeface
            using Microsoft Word in 14-point Times New Roman font.


                                            /s/ Matthew A. Fitzgerald
                                            Matthew A. Fitzgerald

                                            Counsel for Intervenors




                                       16
USCA Case #22-1018     Document #1936952           Filed: 02/28/2022      Page 17 of 17



                         CERTIFICATE OF SERVICE

      I hereby certify that on February 28, 2022, I filed the foregoing with the

Clerk of the United States Court of Appeals for the District of Columbia Circuit

using the appellate CM/ECF system. I also certify that on the same day, I sent a

copy of the foregoing through U.S. Mail, postage prepaid, to the following:

      Mr. Robert H. Solomon
      Solicitor
      Federal Energy Regulatory
      Commission
      888 First Street, NE
      Washington, DC 20426


                                              /s/ Matthew A. Fitzgerald
                                              Matthew A. Fitzgerald

                                              Counsel for Intervenors




                                         17
